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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

                                                       )
 SARAH HAPKA, individually, and on behalf of           )
 all others similarly situated,                        )
                                                       )
                                                       )
                                                       )
                                Plaintiff,             )
                                                       )
                                                       )   Case No. 2:16-cv-02372-KGG
                                                       )
     v.                                                )
                                                       )
                                                       )
 CARECENTRIX, INC.,


                                Defendant.


                               ORDER AND FINAL JUDGMENT

            GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT



          This matter comes before the Court on Plaintiff’s Motion for Final Approval of Class

Settlement (Docs. 97-98).

          Plaintiff filed her Complaint (Doc. 1) on June 2, 2016 (“Complaint”). In the Complaint,

Plaintiff alleges a claim for negligence against Defendant CareCentrix, Inc. (“CareCentrix”)

arising out of an e-mail spoofing incident that resulted in a CareCentrix employee mistakenly

sending the company’s 2015 Internal Revenue Service (“IRS”) Wage and Tax Statements (“W-2

Forms”) for approximately 2,000 employees to a third party fraudster (“E-Mail Security




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Incident1”). See Doc. 98 at 2. This resulted in the release of each class member’s name, address,

Social Security Number, and 2015 wage and withholding information (“Personal Information”).

Complaint, Doc. 1 at ¶¶ 10-11. Plaintiff Hapka alleged that she had suffered tax fraud and identity

theft as a result of the E-Mail Security Incident. Id. at ¶ 6.

        CareCentrix moved to dismiss Plaintiff’s negligence claim for a variety of reasons—lack

of standing, failure to state a claim, lack of subject matter jurisdiction—which motion, after full

briefing and multiple notices of supplemental authority, the Court denied on December 19, 2016

in a written Order. See Memorandum and Order Denying Motion to Dismiss, Doc. 31. Following

the depositions of Plaintiff Hapka and multiple of CareCentrix’s corporate representatives, and

after extensive written discovery that included multiple informal discovery hearings before this

Court as well as litigating to a written order CareCentrix’s motion for absent class member

discovery (see Memorandum and Order Denying Motion to Permit Putative Class Discovery, Doc.

76), the parties notified the Court that they had reached a settlement agreement.

        On September 29, 2017, the Court entered an Order preliminarily approving the proposed

class action settlement and providing for notice to class members. See Doc. 91. In that Order, the

Court provisionally certified the settlement class, approved the parties’ notice plan, and

preliminarily found the settlement to be fair, reasonable, and adequate. Id. In short, nothing has

occurred that would alter the Court’s initial analysis that the settlement was fair, reasonable, and

adequate. In fact, the response of the class members (only one request for exclusion and two




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 Unless otherwise noted, the Court adopts the defined terms contained in the Settlement
Agreement and Release for purpose of this Order. See Settlement Agreement and Release, Doc.
89-1 at ¶¶ 1-24.

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objections out of a directly noticed class containing nearly 2,000 class members) further

underscores that the settlement is, in fact, fair, reasonable, and adequate. See Rapazzini

Declaration, Doc. 98-1 at ¶¶ 3, 6-7.

       The Court, having reviewed the Settlement Agreement and Release, including the exhibits

attached thereto (together, the “Settlement Agreement” or “Settlement”), all objections and

comments received regarding the Settlement, the arguments and authorities presented by the

parties and their counsel, and the record in the Action, and good cause appearing, hereby reaffirms

its findings in the Preliminary Approval Order and grants final approval of the class action

settlement.

       The Court concludes that the Notice Program has been properly implemented and

constitutes the best notice practicable under the circumstances, satisfying due process and the

requirements of Rule 23. The Court further finds that the Settlement is fair, reasonable, and

adequate. The Court bases this finding on the significant relief provided for the Settlement Class;

the factual investigation that occurred in this case; the strengths and weaknesses of Plaintiff’s case;

the risk, expense, complexity, and likely duration of further litigation; the risk of obtaining and

maintaining class action status throughout trial; the experience and views of Class Counsel; and

the positive reaction of class members. Accordingly,

       IT IS HEREBY ORDERED:

       1.      Class Certification for Settlement Purposes Only.

       The Settlement Agreement provides for a Settlement Class defined as follows:

       All current and former employees whose Personal Information was compromised
       as a result of the e-mail security incident announced by CareCentrix, Inc. in March
       2016.



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       For the foregoing reasons, the Court reaffirms that it is proper to certify, and hereby does

finally certify, for settlement purposes only, the Settlement Class pursuant to Federal Rule of Civil

Procedure 23.

       a.       Numerosity: Rule 23(a)(1) requires that a proposed settlement class be “so

numerous that joinder of all class members is impracticable.” Fed. R. Civ. P. 23(a)(1). Here, there

are approximately 2,000 Settlement Class Members and numerosity is not in question.

       b.       Commonality: Rule 23(a)(2) requires that there be “questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). Here, the Settlement Class Members are joined by

the common questions of law and fact that arise from the same event—the data breach. The

common questions include: (1) whether CareCentrix failed to adequately protect Settlement Class

Members’ personal and tax information; (2) whether CareCentrix had a legal duty to adequately

protect Settlement Class Members’ personal and tax information; (3) whether CareCentrix

breached that legal duty; and (4) whether Plaintiff and members of the class suffered injury,

including ascertainable losses, as a result of CareCentrix’s conduct or failure to act.

       c.       Typicality: Rule 23(a)(3) requires that “the claims or defenses of the representative

parties [be] typical of the claims or defenses of the class.” The named plaintiff’s claims need not

be identical to those of other class members; instead this element “requires that representative

possess the same interests and suffer the same injuries as the proposed class members.” Olenhouse

v. Commodity Credit Corp., 136 F.R.D. 672, 680 (D. Kan. 1991). Plaintiff satisfies the typicality

requirement because her claim arises from the same factual nexus and is based on the same legal

theories as the claims of members of the Settlement Class. Like Plaintiff, other Settlement Class

members were subject to the E-mail Security Incident and have suffered identity theft or fraud or

remain at an imminent risk of future harm.

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        d.      Adequacy of Representation: The adequacy requirement is satisfied when “the

representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

23(a)(4). The Court finds that the Settlement Class Representative has fulfilled her responsibilities

on behalf of the Settlement Class. The Court further finds that Class Counsel have prosecuted the

case vigorously and in the best interests of the Settlement Class. Adequacy of representation is

satisfied.

        e.      Predominance and Superiority: Rule 23(b)(3) requires that “questions of law or

fact common to class members predominate over any questions affecting only individual members,

and that class treatment is “superior to other available methods for fairly and efficiently

adjudicating the controversy.” Where, as here, a court is “[c]onfronted with a request for

settlement-only class certification, a district court need not inquire whether the case, if tried, would

present intractable management problems.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620

(1997). The predominance requirement “tests whether proposed classes are sufficiently cohesive

to warrant adjudication by representation.” Id. at 623. Predominance does not require that all

questions of law or fact be common, but rather that “a significant aspect of the case . . . can be

resolved for all members of the class in a single adjudication.” Hanlon v. Chrysler Corp., 150 F.3d

1011, 1022 (9th Cir. 1998) (citation and internal quotations omitted). The many common questions

of fact and law that arise from the E-mail Security Incident and CareCentrix’s alleged conduct

predominate over any individualized issues.

        Finally, class resolution is superior to other available means for the fair and efficient

adjudication of the claims in this case. Here, potential damages suffered by individual class

members are relatively low-dollar amounts and may be uneconomical to pursue on an individual

basis given the burden and expense of prosecuting individual claims. Moreover, there is little doubt

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that resolving all class members’ claims jointly, particularly through a class-wide settlement

negotiated on their behalf by counsel well-versed in class action litigation, is superior to a series

of individual lawsuits and promotes judicial economy. See In re Universal Serv. Fund. Tele. Billing

Prac. Litig., 219 F.R.D. 661, 679 (D. Kan. 2004).

       2.        Settlement Class Representatives and Class Counsel.

       The Court concludes that Barrett J. Vahle and the firm of Stueve Siegel Hanson LLP

(“Class Counsel”) have fairly and adequately represented the interests of the Settlement Class

Members.

       The Court further concludes that the Settlement Class Representative Hapka is typical of

the Settlement Class and has fairly and adequately represented the interests of the Settlement Class

Members.

       3.        Jurisdiction.

       The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2), and personal

jurisdiction over the parties before it. Additionally, venue is proper in this District pursuant to 28

U.S.C. § 1391.

       4.        Findings Concerning Notice.

       The Court finds that the Notice Program has been implemented by the Settlement

Administrator and the parties in accordance with the requirements of the Settlement Agreement,

and that such Notice Program, including the utilized forms of Notice, constitutes the best notice

practicable under the circumstances and satisfies due process and the requirements of Rule 23 of

the Federal Rules of Civil Procedure. The Court finds that the Settlement Administrator and parties

have complied with the directives of the Preliminary Approval Order and the Court reaffirms its

findings concerning notice as set forth in paragraph 6 thereof.

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        5.        Findings Concerning Claims Process.

        The Court finally approves the Claims Process as a fair and reasonable method to allocate

the Settlement benefits among Settlement Class Members. The Court directs that the Settlement

Administrator continue to effectuate the Claims Process according to the terms of the Settlement

Agreement.

        6.        Class Action Fairness Act Notice.

        The Court finds that CareCentrix has caused to be served a notice of the proposed

Settlement on appropriate state officials in accordance with the requirements under the Class

Action Fairness Act (“CAFA”), 28 U.S.C. § 1715(b). See Doc. 93 (declaration regarding CAFA

notice).

        7.        Requests for Exclusion and Objections to the Settlement.

        Out of nearly 2,000 Settlement Class Members, there were only two timely objections and

one Settlement Class Member who timely requested exclusion from the Settlement. The number

of objectors represents an extremely small percentage of the Settlement Class. This indicates

strong support for the Settlement by Settlement Class Members and weighs strongly in favor of

final approval.

        The Court has carefully considered all objections of Settlement Class Members. For the

foregoing reasons, the Court finds the objections are without merit and are hereby overruled in

their entirety.

        a.        Objections to the Monetary Value of the Settlement: The Echols Objection and

Fatovic Objection both criticize the value of the monetary value of the Settlement. See Rapazzini

Decl., Doc. 98-1, at Ex. A (Echols Objection), Ex. B (Fatovic Objection). At the outset, neither

the Echols nor Fatovic Objections state that, individually, they have incurred compensable Out-

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of-Pocket Losses in excess of the $5,000 cap provided in the Settlement. Id. Second, neither the

Echols nor Fatovic Objections state why the $200 alternative minimum payment to Settlement

Class Members is insufficient to compensate Settlement Class Members with less than $200 in

Out-of-Pocket Losses for their time and inconvenience. Id.

       As noted in the motion for final approval, “this Court’s role is not to determine whether

the proposed settlement has achieved perfection. It is true that something could always be added

to every class action settlement to make it more favorable to class members, but that is not the

standard by which class action settlements should be measured. Rather . . . this Court’s role is

limited to determining whether the Settlement is fair, reasonable, and adequate.” Mangone v. First

USA Bank, 206 F.R.D. 222, 227 (S.D. Ill. 2001); see also, e.g., Isby v. Bayh, 75 F.3d 1191, 1200

(7th Cir. 1996) (overruling objections and noting that the “essence of settlement is compromise”

and that a “settlement will not be rejected solely because it does not provide a complete victory to

the plaintiffs.”). For these reasons and those stated by Plaintiff in support of final approval (Doc.

98 at 16-18), the Echols Objection and Fatovic Objection to the monetary value and sufficiency of

the substantive settlement relief are overruled.

       b.      Objection to the Class Definition: The Fatovic Objection to the scope of the

Settlement Class definition is without merit and is overruled. The Fatovic Objection alleges that

the data breach included the confidential information of another unidentified group of persons that

includes, at least, the employee Settlement Class Members’ family members. In the submissions

in support of final approval, Plaintiff and Class Counsel state that Mr. Fatovic’s assertions of a

broader data breach are inconsistent with the allegations in the Complaint and not supported by

the discovery as understood by Class Counsel. Defendant states that the breach included only

specific information for specific individual employees, and not members of their families or

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anyone else. Regardless, the Fatovic Objection fails for the simple reason that persons who are not

Settlement Class Members are not releasing any claims through the judgment in this case. As

such, the Fatovic Objection has no bearing on whether the Settlement is fair, reasonable, and

adequate as to the individuals who are Settlement Class Members. For this reason, the Fatovic

Objection to the scope of the Settlement Class Definition is overruled.




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       8.      Findings Concerning the Fairness, Adequacy and Reasonableness of the

Settlement.

       The Court finds that this Settlement reflects an outstanding result for the Class in a case

with a significant level of risk. The Settlement provides significant monetary benefits to

compensate consumers for Out-of-Pocket Losses, as well as preventative relief in the form of

Credit Monitoring Services, and important commitments by CareCentrix as to its data security

practices. This relief compares very favorably to settlements in other data breach class actions.

       a.      No Collusion Between the Parties: The Court concludes that there was no fraud or

collusion in reaching the Settlement. Both parties were represented by informed counsel that

reached agreement after nearly a year of arm’s-length negotiations.

       b.      Serious Questions of Law and Fact Exist, Placing the Outcome of the Litigation

in Doubt: Courts presiding over similar cases have recognized that the “legal issues involved [in

data breach litigation] are cutting-edge and unsettled, so that many resources would necessarily be

spent litigating substantive law as well as other issues.” In re Target Corp. Customer Data Sec.

Breach Litig., No. MDL142522-PAM-JJK, 2015 WL 7253765, at *2 (D. Minn. Nov. 17, 2015).

And proceeding to class certification and trial comes with inherent risk. The presence of doubt

about the outcome of this litigation favors settlement “because settlement creates a certainty of

some recovery, and eliminates doubt, meaning the possibility of no recovery after long and

expensive litigation.” In re Qwest Commc’ns Int’l, Inc. Sec. Litig., 625 F. Supp. 2d 1133, 1138 (D.

Colo. 2009).

       c.      The Value of an Immediate Recovery Outweighs the Mere Possibility of Future

Relief After Protracted and Expensive Litigation. The relatively early Settlement in this case

benefits the Settlement Class because they can immediately take advantage of Settlement benefits

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designed to mitigate and prevent future harm including the Credit Monitoring Services. Settlement

Class Members with Out-of-Pocket losses can recover those losses immediately as well. These

benefits are particularly favorable when weighed against the risks of continuing to litigate the case.

       d.      The Judgment of the Parties that the Settlement is Fair and Reasonable:

“Counsels’ judgment as to the fairness of the agreement is entitled to considerable weight.” Lucas

v. Kmart Corp., 234 F.R.D. 688, 695 (D. Colo. 2006) (quoting Marcus v. Kansas, 209 F. Supp. 2d

1179, 1183 (D. Kan. 2002)). Here, the parties’ counsel—who include national leaders in consumer

data breach litigation—unanimously support this settlement. See Vahle Decl., ¶¶ 20-24; see also

Lucas, 234 F.R.D. at 695 (emphasizing unanimous support by experienced counsel). The judgment

of the parties is that this settlement is fair and reasonable. It provides a meaningful cash recovery

and other valuable benefits to the Class now without the very significant risk of the Class ultimately

obtaining nothing, and compares favorably with the settlements obtained in other data breach cases

around the country.

       e.      The Substance and Degree of Opposition to the Settlement: As explained above,

the reaction from Settlement Class Members has been overwhelmingly positive with only a

miniscule percentage of Settlement Class Members opting out or objecting. The low percentage of

objections demonstrates the reasonableness of the Settlement and supports the Settlement’s

approval.

       9.      Final Approval Hearing. The Court held a Final Approval Hearing on February

15, 2018. Following argument from the parties and considering all objections and comments

received regarding the Settlement, the Court concludes as follows: (a) the Settlement is approved

as fair, reasonable, and adequate, and finally approved pursuant to Fed. R. Civ. P. 23(e); (b) this

matter is finally certified as a class action for settlement purposes pursuant to Fed. R. Civ. P.

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23(b)(3) and (e); (c) the Plaintiff’s Complaint is dismissed with prejudice pursuant to the terms of

the Settlement Agreement; and (d) Settlement Class Members, except Lisa Zane Ostwind of

Tempe, Arizona, the lone Settlement Class Member to request to be excluded, are bound by the

releases set forth in the Settlement Agreement.

       10.     Releases. As of the Effective Date, the Releases (Doc. 89-1 at ¶¶ 57-58) shall be

deemed to have, and by operation of this Order and the Final Judgment shall have, fully and

irrevocably released and forever discharged the parties from all released claims as more fully set

forth in Section XI of the Settlement Agreement.

       11.     Dismissal. The Court hereby dismisses this Action with prejudice except that the

Court retains jurisdiction to enter its ruling on Plaintiff’s Motion for an Award of Attorneys’ Fees,

Expenses, and Costs to Class Counsel and a Class Representative Service Award (Doc. 94).

Concurrently with this Order and Final Judgment, the Court will enter an order regarding

attorneys’ fees and service awards.

       12.     Final Judgment. There is no just reason to delay entry of this Order and Final

Judgment and immediate entry by the Clerk of the Court is directed pursuant to Rule 54(b) of the

Federal Rules of Civil Procedure.

       13.     Continuing Jurisdiction. The Court retains jurisdiction over this action and the

parties, attorneys and Settlement Class Members for all matters relating to this action, including

(without limitation) the administration, interpretation, effectuation or enforcement of the

Settlement Agreement and this Order, and including any application for fees and expenses incurred

in connection with this action.

       For the reasons set forth herein, the Court hereby (1) grants final approval of the Settlement;

(2) certifies the Settlement Class pursuant to Federal Rules of Civil Procedure 23(b)(3) and (e);

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and (3) enters final judgment in this Action. The parties are ordered to carry out the Settlement as

provided in the Settlement Agreement.




Dated: February 15, 2018                             s/ Kenneth G. Gale
                                                     Kenneth G. Gale
                                                     United States Magistrate Judge




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